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 UNITED STATES BANKRUPTCY   COURT Page 1 of 2
                         Document
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-2(c)

 Low and Low, L.L.C.
 505 Main Street
 Hackensack, New Jersey 07601
 Telephone: (201) 343-4040
 Fax: (201) 488-5788
 Russell L. Low, Esq. No. 4745
 Attorney for the Debtor(s)
 In Re:                                                  Case No.:      ___________________
                                                                             18-17175
  Milorad Stevic                                         Judge:                 MBK
                                                                         ___________________

                                                         Chapter:                13




               CHAPTER 13 DEBTOR’S CERTIFICATION IN OPPOSITION TO
               ✔ CREDITOR’S MOTION or CERTIFICATION OF DEFAULT
               ‘
               ‘       TRUSTEE’S MOTION or CERTIFICATION OF DEFAULT


       The debtor in the above-captioned chapter 13 proceeding hereby objects to the following
(choose one):

          1.       ‘
                   ✔      Motion for Relief from the Automatic Stay filed

                          by________________________________________,
                                      Wells Fargo Bank, N.A.          creditor,

          A hearing has been scheduled for ____________________________,
                                                  March 26, 2019         at __________m.
                                                                              9:00 a.

                                                   OR

                   ‘      Motion to Dismiss filed by the Standing Chapter 13 Trustee.

          A hearing has been scheduled for ____________________________, at _________ __m.

                   ‘      Certification of Default filed by __________________________, creditor,

          I am requesting a hearing be scheduled on this matter.

                                                    OR

                   ‘      Certification of Default filed by Standing Chapter 13 Trustee

          I am requesting a hearing be scheduled on this matter.
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                 2.       I am objecting to the above for the following reasons (choose one):

                 ‘        Payments have been made in the amount of $ ___________________, but
                          have not been accounted for. Documentation in support is attached hereto.


                 ‘        Payments have not been made for the following reasons and debtor
                          proposes repayment as follows (explain your answer):




                 ✔
                 ‘        Other (explain your answer):
                           The debtor wants opportunity to resolve this matter and bring his
                           mortgage payments current.



        3.       This certification is being made in an effort to resolve the issues raised by the
                 creditor in its motion.


        4.       I certify under penalty of perjury that the foregoing is true and correct.


Date: _______________________
       3/19/19                                                          ______________________________
                                                                         /s/ Milorad Stevic
                                                                        Debtor’s Signature

Date: _______________________                                           ______________________________
                                                                        Debtor’s Signature


NOTE:
1.      This form must be filed with the court and served upon the Standing Chapter 13 Trustee and creditor at
        least seven (7) days before the return date pursuant to D.N.J. LBR 9013-1(d), if filed in opposition to a
        Motion for Relief from the Automatic Stay or Trustee’s Motion to Dismiss.
2.      This form must be filed with the court and served upon the Standing Chapter 13 Trustee and creditor within
        14 days of the filing of a Creditor’s Certification of Default (under an Order Resolving Motion to Vacate
        Stay and/or Dismiss with Conditions) or a Trustee’s Certification of Default.


                  If this form is not filed the Motion or Certification of Default
                  will be deemed uncontested and no hearing will be scheduled.



                                                                                                            rev.12/1/09
